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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 SOUTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       7                                         amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     PCPC Direct, Ltd

2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           2      0      –      2      5        1    1         3   2     2

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       10690 Shadow Wood Drive                                         3204 Bammel Lane
                                       Number         Street                                           Number     Street
                                       Suite 132
                                                                                                       P.O. Box



                                       Houston                             TX       77043              Houston                       TX      77098
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Harris                                                          from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                          State   ZIP Code

5.   Debtor's website (URL)            www.pcpcdirect.com

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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Debtor PCPC Direct, Ltd                                                                  Case number (if known)

7.   Describe debtor's business        A. Check one:

                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above


                                       B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in
                                            15 U.S.C. § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                       C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes




8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                         Chapter 7
                                            Chapter 9
     A debtor who is a "small               Chapter 11. Check all that apply:
     business debtor" must check                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     the first sub-box. A debtor as                         aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     defined in § 1182(1) who elects                        affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
     to proceed under subchapter V                          recent balance sheet, statement of operations, cash-flow statement, and federal
     of chapter 11 (whether or not                          income tax return or if any of these documents do not exist, follow the procedure
     the debtor is a "small business                        in 11 U.S.C. § 1116(1)(B).
     debtor") must check the second
     sub-box.                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, AND IT CHOOSES TO PROCEED UNDER SUBCHAPTER V
                                                              OF CHAPTER 11. If this sub-box is selected, attach the most recent balance
                                                              sheet, statement of operations, cash-flow statement, and federal income tax
                                                              return, or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                              Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                              form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                              Rule 12b-2.

                                            Chapter 12




Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 2
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Debtor PCPC Direct, Ltd                                                                   Case number (if known)

9.   Were prior bankruptcy                  No
     cases filed by or against
     the debtor within the last 8           Yes. District                                        When                    Case number
     years?                                                                                             MM / DD / YYYY

                                                 District                                        When                    Case number
     If more than 2 cases, attach a
                                                                                                        MM / DD / YYYY
     separate list.
                                                 District                                        When                    Case number
                                                                                                        MM / DD / YYYY

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                   District                                                    When
     List all cases. If more than 1,                                                                                          MM / DD / YYYY
     attach a separate list.                       Case number, if known


                                                   Debtor                                                      Relationship

                                                   District                                                    When
                                                                                                                              MM / DD / YYYY
                                                   Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                            days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                            any other district.

                                            A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                            district.




Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
                    Case 21-32995 Document 1 Filed in TXSB on 09/07/21 Page 4 of 65


Debtor PCPC Direct, Ltd                                                           Case number (if known)

12. Does the debtor own or            No
    have possession of any            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal              needed.
    property that needs
                                           Why does the property need immediate attention?               (Check all that apply.)
    immediate attention?
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                safety.
                                                What is the hazard?

                                                It needs to be physically secured or protected from the weather.

                                                It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                related assets or other options).

                                                Other


                                           Where is the property?
                                                                        Number      Street




                                                                        City                                       State      ZIP Code

                                           Is the property insured?

                                                No
                                                Yes. Insurance agency

                                                        Contact name

                                                        Phone


              Statistical and adminstrative information
13. Debtor's estimation of       Check one:
    available funds                  Funds will be available for distribution to unsecured creditors.
                                     After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                     creditors.

14. Estimated number of               1-49                              1,000-5,000                         25,001-50,000
    creditors                         50-99                             5,001-10,000                        50,001-100,000
                                      100-199                           10,001-25,000                       More than 100,000
                                      200-999

15. Estimated assets                  $0-$50,000                        $1,000,001-$10 million              $500,000,001-$1 billion
                                      $50,001-$100,000                  $10,000,001-$50 million             $1,000,000,001-$10 billion
                                      $100,001-$500,000                 $50,000,001-$100 million            $10,000,000,001-$50 billion
                                      $500,001-$1 million               $100,000,001-$500 million           More than $50 billion

16. Estimated liabilities             $0-$50,000                        $1,000,001-$10 million              $500,000,001-$1 billion
                                      $50,001-$100,000                  $10,000,001-$50 million             $1,000,000,001-$10 billion
                                      $100,001-$500,000                 $50,000,001-$100 million            $10,000,000,001-$50 billion
                                      $500,001-$1 million               $100,000,001-$500 million           More than $50 billion




Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 4
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Debtor PCPC Direct, Ltd                                                                  Case number (if known)


              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 09/07/2021
                                                      MM / DD / YYYY



                                          X /s/ Joseph R. Vaught
                                              Signature of authorized representative of debtor
                                              Joseph R. Vaught
                                              Printed name
                                              Executive Vice President/COO
                                              Title

18. Signature of attorney                X /s/ Stephen W. Sather                                                  Date   09/07/2021
                                            Signature of attorney for debtor                                             MM / DD / YYYY

                                            Stephen W. Sather
                                            Printed name
                                            Barron & Newburger, P.C.
                                            Firm name
                                            7320 N. MoPac Expwy., Suite 400
                                            Number          Street



                                            Austin                                                     TX                 78731
                                            City                                                       State              ZIP Code


                                            (512) 476-9103                                             ssather@bn-lawyers.com
                                            Contact phone                                              Email address
                                            17657520                                                   TX
                                            Bar number                                                 State




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 5
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 Fill in this information to identify the case
 Debtor name          PCPC Direct, Ltd

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:         Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?
            No. Go to Part 2.
            Yes. Fill in the information below.


       All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                              debtor's interest

2.     Cash on hand

3.     Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                        account number
3.1.    Bank of America - Checking account;
        Distribution Account                                          Checking account                    4   2   8     2                        $0.00
3.2.    Bank of America - Checking account -
        Funding Account                                               Checking account                    4   2   9     5                        $0.00

3.3.    Bank of America - Checking account - Master
        Transfer Account                                              Checking account                    5   0   4     5                   $74,878.50

3.4.    Bank of America - Checking account -
        Operating Account                                             Checking account                    5   7   3     7                    $4,493.15
4.     Other cash equivalents       (Identify all)

       Name of institution (bank or brokerage firm)

5.     Total of Part 1
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                            $79,371.65




Official Form 206A/B                                 Schedule A/B: Assets -- Real and Personal Property                                           page 1
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Debtor       PCPC Direct, Ltd                                                             Case number (if known)
             Name


 Part 2: Deposits and prepayments

6.   Does the debtor have any deposits or prepayments?

         No. Go to Part 3.
         Yes. Fill in the information below.

                                                                                                                                Current value of
                                                                                                                                debtor's interest
7.   Deposits, including security deposits and utility deposits

     Description, including name of holder of deposit

8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

     Description, including name of holder of prepayment

9.   Total of Part 2.
     Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                                $0.00


 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

         No. Go to Part 4.
         Yes. Fill in the information below.
                                                                                                                                Current value of
                                                                                                                                debtor's interest
11. Accounts receivable

11a. 90 days old or less:            $2,063.66             –                 $0.00                  = .......................              $2,063.66
                            face amount                        doubtful or uncollectible accounts

11b. Over 90 days old:             $143,446.73             –                 $0.00                  = .......................           $143,446.73
                            face amount                        doubtful or uncollectible accounts

12. Total of Part 3
                                                                                                                                        $145,510.39
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4: Investments

13. Does the debtor own any investments?

         No. Go to Part 5.
         Yes. Fill in the information below.
                                                                                           Valuation method                     Current value of
                                                                                           used for current value               debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

      Name of entity:                                          % of ownership:
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

       Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                $0.00




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                                   page 2
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Debtor       PCPC Direct, Ltd                                                            Case number (if known)
             Name


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

         No. Go to Part 6.
         Yes. Fill in the information below.

     General description                         Date of the       Net book value of      Valuation method         Current value of
                                                 last physical     debtor's interest      used for current value   debtor's interest
                                                 inventory         (Where available)
19. Raw materials                                MM/DD/YYYY

     Bay Microsystems servers                    01/01/2017                $734,400.00                                             $0.00
20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies

23. Total of Part 5
                                                                                                                                   $0.00
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
        No
        Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
       No
       Yes

 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

         No. Go to Part 7.
         Yes. Fill in the information below.

     General description                                           Net book value of      Valuation method         Current value of
                                                                   debtor's interest      used for current value   debtor's interest
                                                                   (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                   $0.00

34. Is the debtor a member of an agricultural cooperative?
         No
         Yes. Is any of the debtor's property stored at the cooperative?
                   No
                   Yes




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                      page 3
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Debtor       PCPC Direct, Ltd                                                           Case number (if known)
             Name

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
         No
         Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
       No
       Yes

 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         No. Go to Part 8.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method         Current value of
                                                                    debtor's interest    used for current value   debtor's interest
                                                                    (Where available)
39. Office furniture

     Office Machines & Eqipment located at 10690
     Shadow Wood Drive, Suite 132, Houston, TX
     77043                                                                                                                  $36,572.00
     Office Furniture located at 10690 Shadow Wood
     Drive, Suite 132, Houston, TX 77043                                                                                    $53,561.00
40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

     Computer Equipment located at 10690 Shadow
     Wood Drive, Suite 132, Houston, TX 77043                                                                             $269,221.00
     Computer Software located at 10690 Shadow
     Wood Drive, Suite 132, Houston, TX 77043                                            199309.00                        $199,309.00
     Equipment located at 10690 Shadow Wood
     Drive, Suite 132, Houston, TX 77043                                                                                    $33,634.00
     Vision Logistics located at 10690 Shadow Wood
     Drive, Suite 132, Houston, TX 77043                                                                                     $4,450.00
42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.
                                                                                                                          $596,747.00

44. Is a depreciation schedule available for any of the property listed in Part 7?
         No
         Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 4
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Debtor        PCPC Direct, Ltd                                                           Case number (if known)
              Name


 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

          No. Go to Part 9.
          Yes. Fill in the information below.

      General description                                          Net book value of      Valuation method                Current value of
      Include year, make, model, and identification numbers        debtor's interest      used for current value          debtor's interest
      (i.e., VIN, HIN, or N-number)                                (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

47.1. 2006 Dodge Viper (Debtor owns a 50% Interest
       in the vehicle) Engine and frame serial numbers
       do not match due to major accident/rebuild
       thereby decreasing value.                                                          NADA                                      $44,000.00
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

51. Total of Part 8.
                                                                                                                                    $44,000.00
    Add lines 47 through 50. Copy the total to line 87.

52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
       No
       Yes

 Part 9: Real property

54. Does the debtor own or lease any real property?

          No. Go to Part 10.
          Yes. Fill in the information below.

55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property           Nature and extent      Net book value of     Valuation method       Current value of
       Include street address or other description    of debtor's interest   debtor's interest     used for current       debtor's interest
       such as Assessor Parcel Number (APN),          in property            (Where available)     value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

56. Total of Part 9.
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                          $0.00

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                            page 5
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Debtor       PCPC Direct, Ltd                                                            Case number (if known)
             Name


Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.

     General description                                           Net book value of       Valuation method          Current value of
                                                                   debtor's interest       used for current value    debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

     OmegaWan Registered Trademark                                                                                                   $0.00
61. Internet domain names and websites

62. Licenses, franchises, and royalties

63. Customer lists, mailing lists, or other compilations

64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
                                                                                                                                     $0.00
    Add lines 60 through 65. Copy the total to line 89.

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
       No
       Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
       No
       Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

         No. Go to Part 12.
         Yes. Fill in the information below.

                                                                                                                     Current value of
                                                                                                                     debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     Texas Workforce Commission Q1 2021 overpayment due to rate change                             Tax year   2021              $3,913.98
     State of Hawaii tax period 1 2020 overpayment                                                 Tax year                       $202.62
     State of California Sales Tax Overpayment                                                     Tax year                     $4,808.54
     State of Florida Sales and Use tax credit                                                     Tax year                        $18.90




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                       page 6
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Debtor           PCPC Direct, Ltd                                                                                    Case number (if known)
                 Name

73. Interests in insurance policies or annuities

74. Causes of action against third parties (whether or not a lawsuit has been filed)

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

78. Total of Part 11.
    Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                                                $8,944.04

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
       No
       Yes

 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                              Current value of                             Current value of
                                                                                    personal property                            real property


80. Cash, cash equivalents, and financial assets.                                            $79,371.65
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                                   $0.00

82. Accounts receivable. Copy line 12, Part 3.                                             $145,510.39

83. Investments. Copy line 17, Part 4.                                                               $0.00

84. Inventory. Copy line 23, Part 5.                                                                 $0.00

85. Farming and fishing-related assets.                                                              $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                             $596,747.00
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                      $44,000.00
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9.......................................................................................               $0.00

89. Intangibles and intellectual property.                                                           $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                      +            $8,944.04

91. Total. Add lines 80 through 90 for each column.                        91a.            $874,573.08           +     91b.                  $0.00


                                                                                                                                                                   $874,573.08
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.........................................................................................................




Official Form 206A/B                                        Schedule A/B: Assets -- Real and Personal Property                                                         page 7
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 Fill in this information to identify the case:
 Debtor name          PCPC Direct, Ltd

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number                                                                                                          Check if this is an
 (if known)                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.


 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more               Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                   Amount of claim        Value of collateral
                                                                                                              Do not deduct the      that supports
                                                                                                              value of collateral.   this claim

 2.1      Creditor's name                                     Describe debtor's property that is
                                                 subject to a lien
          Arrow Enterprise Computing Solutions, In                                          $315,000.00                                     $199,309.00

          Creditor's mailing address             Inventory, Equipment, Instruments, Chattel
          9201 E. Dry Creek Road                 Describe the lien
                                                              Business Debt / Agreement
                                                              Is the creditor an insider or related party?
          Centennial                 CO       80112                No
                                                                   Yes
          Creditor's email address, if known
                                                              Is anyone else liable on this claim?
          Date debt was incurred                                  No
                                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          Last 4 digits of account
          number                          0    1      1   3   As of the petition filing date, the claim is:
          Do multiple creditors have an interest in           Check all that apply.
          the same property?                                      Contingent
              No                                                  Unliquidated
              Yes. Specify each creditor, including this          Disputed
              creditor, and its relative priority.
For Bay Microsystems servers: 1) Arrow Enterprise Computing Solutions, In; 2) Synnex Corporation; 3) US Small Business
Administration. For Computer Software located at 10690 Shadow Wood Drive, Suite : 1) Synnex Corporation; 2) US Small
Business Administration; 3) Arrow Enterprise Computing Solutions, In.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                                    $754,030.65


Official Form 206D                            Schedule D: Creditors Who Have Claims Secured by Property                                           page 1
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Debtor       PCPC Direct, Ltd                                                                Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.2     Creditor's name                                     Describe debtor's property that is
         Ingram Micro, Inc.                                  subject to a lien                                            $0.00                  $0.00

         Creditor's mailing address                          All Equipment, Inventory, Accounts & Chattel
         1759 Wehrle Drive                                   Describe the lien
                                                             Business Debt / Agreement
                                                             Is the creditor an insider or related party?
         Williamsville              NY       14221                No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          3    6      0   0   As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

 2.3     Creditor's name                                     Describe debtor's property that is
         Synnex Corporation                                  subject to a lien                                    $289,030.65             $468,530.00

         Creditor's mailing address                          Inventory, Equipment & General Intangibles
         3797 Spinnaker Court                                Describe the lien
                                                             Business Debt / Agreement
                                                             Is the creditor an insider or related party?
         Fremont                    CA       94538                No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          3    1      4   4   As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
For Bay Microsystems servers: See 2.1. For Computer Equipment located at 10690 Shadow Wood Drive, Suite: 1) Synnex
Corporation; 2) US Small Business Administration. For Computer Software located at 10690 Shadow Wood Drive, Suite : See
2.1.
                Yes. The relative priority of creditors is
                specified on lines




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2
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Debtor       PCPC Direct, Ltd                                                                Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.4     Creditor's name                                     Describe debtor's property that is
         US Small Business Administration                    subject to a lien                                    $150,000.00             $468,530.00

         Creditor's mailing address                          All Tangible & intangible personal property
         10737 Gateway West, #300                            Describe the lien
                                                             Business Loan / Agreement
                                                             Is the creditor an insider or related party?
         El Paso                    TX       79935                No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          7    9      0   1   As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.1, 2.3




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3
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 Fill in this information to identify the case:
 Debtor              PCPC Direct, Ltd

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number                                                                                                   Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
           No. Go to Part 2.
           Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the
                                                                claim is: Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:

Date or dates debt was incurred
                                                                Is the claim subject to offset?
                                                                     No
Last 4 digits of account                                             Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)(     )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
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Debtor        PCPC Direct, Ltd                                                         Case number (if known)

 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                      $899.00
                                                                   Check all that apply.
A Rifkin Co                                                            Contingent
1400 Sans Souci Parkway                                                Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Wilkes-Barre                             PA       18703            Goods and Services

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number          2    4   8    4                Yes


     3.2   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                   $15,150.00
                                                                   Check all that apply.
A&A Fabrication & Polishing                                            Contingent
12031 Philadelphia Street                                              Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Whittier                                 CA       90601            Goods and Services

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number         C     I   n    c                Yes


     3.3   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                      $240.26
                                                                   Check all that apply.
Ace It, Inc                                                            Contingent
1880 W. Oak Parkway, Suite 108                                         Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Marietta                                 GA       30062            Goods and Services

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number          t    L    t   d                Yes


     3.4   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    $4,593.00
                                                                   Check all that apply.
Acucal Incorporated                                                    Contingent
11090 Industrial Rd                                                    Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Manassas                                 VA       20109            Goods and Services

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number          6    4   6    7                Yes




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page 2
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Debtor        PCPC Direct, Ltd                                                      Case number (if known)

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

   3.5     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $11,400.00
                                                                Check all that apply.
Advanced Power & Controls, LLC                                      Contingent
898 N. 2225 West Circle                                             Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Cedar City                             UT       84721           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       t     L    T   D               Yes


   3.6     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $39,388.50
                                                                Check all that apply.
Algosec                                                             Contingent
65 Challenger Rd, Ste 310                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Ridgefield Park                        NJ       07660           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       0     3    0   7               Yes


   3.7     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:            $372,700.00
                                                                Check all that apply.
Aligned Vision                                                      Contingent
27 Industrial Ave                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Chelmsford                             MA       01824           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       r     e    c   t               Yes


   3.8     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $149.24
                                                                Check all that apply.
Ariba, Inc.                                                         Contingent
807 11th Avenue                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Sunnyvale                              CA       94089           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       8     3    0   8               Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 3
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Debtor       PCPC Direct, Ltd                                                       Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

   3.9     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $811.31
                                                                Check all that apply.
AT&T                                                                Contingent
PO Box 5001                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Carol Stream                           IL       60197-5001      Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       5     4    8   4               Yes


  3.10     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $338.65
                                                                Check all that apply.
AT&T                                                                Contingent
PO Box 105414                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Atlanta                                GA       30348-5414      Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       6     0    4   0               Yes


  3.11     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:            $106,916.97
                                                                Check all that apply.
AT&T                                                                Contingent
PO Box 5019                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Carol Stream                           IL       60197-5019      Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       6     0    0   1               Yes


  3.12     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $150.89
                                                                Check all that apply.
AT&T                                                                Contingent
PO Box 5017                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Carol Stream                           IL       60197-5017      Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       6     8    9   4               Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 4
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Debtor       PCPC Direct, Ltd                                                       Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.13     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $6,473.07
                                                                Check all that apply.
AVT Technology Solutions                                            Contingent
8700 S. Price Road                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Tempe                                  AZ       85284           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       0     3    7   2               Yes


  3.14     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $116.65
                                                                Check all that apply.
Boeing Distribution                                                 Contingent
3760 W. 108th Street                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Miami                                  FL       33018           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       0     8    9   6               Yes


  3.15     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,707.40
                                                                Check all that apply.
Budget Truck Rental                                                 Contingent
4500 S. 129th East Ave                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Tulsa                                  OK       74169-0360      Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       2     2    2   3               Yes


  3.16     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $35,523.89
                                                                Check all that apply.
Capital One                                                         Contingent
1680 Capital One Drive                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
McLean                                 VA       22102-3491      Credit Card

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       4     6    0   1               Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 5
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Debtor       PCPC Direct, Ltd                                                       Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.17     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $90,076.04
                                                                Check all that apply.
Chase Card Services                                                 Contingent
PO Box 15298                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Wilmington                             DE       19850-5298      Credit Card

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       8     9    2   6               Yes


  3.18     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,379.62
                                                                Check all that apply.
Cogent Communications Inc                                           Contingent
2450 N. Street, NW                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Washington                             DC       20037           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       0     0    0   1               Yes


  3.19     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $40,785.84
                                                                Check all that apply.
Connectwise, Inc.                                                   Contingent
4110 George Road, Ste 200                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Tampa                                  FL       33634           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       4     2    9   1               Yes


  3.20     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:            $752,808.91
                                                                Check all that apply.
Cray, Inc.                                                          Contingent
901 5th Ave, Ste 1000                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Seattle                                WA       98164           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       1     7    4   8               Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 6
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Debtor       PCPC Direct, Ltd                                                       Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.21     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $11,033.33
                                                                Check all that apply.
Cyrusone                                                            Contingent
2850 N. Harwood St, Ste 2200                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75201           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       0     4    1   5               Yes


  3.22     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $11,694.66
                                                                Check all that apply.
De Lage Landen Financial Services, Inc                              Contingent
1111 Old Eagle School Rd                                            Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Wayne                                  PA       19087-1453      Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       9     9    9   9               Yes


  3.23     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $11,779.30
                                                                Check all that apply.
Diamond USA, Inc                                                    Contingent
85 Rangeway Rd, Bldg #3                                             Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
North Billerica                        MA       01862           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       t     L    t   d               Yes


  3.24     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $23,400.00
                                                                Check all that apply.
DLT Solutions, LLC                                                  Contingent
2411 Dulles Corner Park, Ste 800                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Herndon                                VA       20171           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       C     O    0   3               Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 7
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Debtor        PCPC Direct, Ltd                                                       Case number (if known)

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                Amount of claim

  3.25      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $15,092.89
                                                                 Check all that apply.
Electro Enterprises                                                  Contingent
3601 N. I-35 Service Rd                                              Unliquidated
                                                                     Disputed

                                                                 Basis for the claim:
Oklahoma City                           OK       73111           Goods and Services

Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                      No
Last 4 digits of account number        8     8    5   8               Yes


  3.26      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $10,890.00
                                                                 Check all that apply.
Essex, Ind                                                           Contingent
7700 Gravios Road                                                    Unliquidated
                                                                     Disputed

                                                                 Basis for the claim:
St. Louis                               MO       63123-4728      Goods and Services

Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                      No
Last 4 digits of account number        8     7    0   7               Yes


  3.27      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $14,017.75
                                                                 Check all that apply.
Fairbanks Scales, Inc                                                Contingent
6800 W. 64th Street                                                  Unliquidated
                                                                     Disputed

                                                                 Basis for the claim:
Overland Park                           KS       64106           Goods and Services

Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                      No
Last 4 digits of account number        4     9    9   1               Yes


  3.28      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:            $394,621.50
                                                                 Check all that apply.
Fuji America Corporation                                             Contingent
171 Corporate Woods Pkwy                                             Unliquidated
                                                                     Disputed

                                                                 Basis for the claim:
Vernon Hills                            IL       60061           Goods and Services

Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                      No
Last 4 digits of account number        1     7    1   6               Yes




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                     page 8
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Debtor       PCPC Direct, Ltd                                                       Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.29     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $29,000.00
                                                                Check all that apply.
General Dynamics Mission Systems                                    Contingent
12450 Fair Lakes Circle                                             Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Fairfax                                VA       22033           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       t     L    T   D               Yes


  3.30     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $38,099.00
                                                                Check all that apply.
GNB Industrial Power                                                Contingent
3700 Mansell Rd, Ste 400                                            Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Alpharetta                             GA       30022           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       2     9    7   7               Yes


  3.31     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,470.00
                                                                Check all that apply.
Hello Direct, Inc                                                   Contingent
400 Imperial Blvd                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Cape Canaveral                         FL       32920           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       9     7    5   3               Yes


  3.32     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $7,299.00
                                                                Check all that apply.
High-Tech Conversions, Inc                                          Contingent
1699 King Street                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Enfield                                CT       06082           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       t     L    T   D               Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 9
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Debtor       PCPC Direct, Ltd                                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.33     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $64,990.00
                                                               Check all that apply.
Holzworth Instrumentation, Inc                                     Contingent
2540 Frontier Ave, Ste 200                                         Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Boulder                                CO       80301          Goods and Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number       P     C   P   C               Yes


  3.34     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $18,234.30
                                                               Check all that apply.
Insight Global                                                     Contingent
1224 Hammond Drive, Ste 1500                                       Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Atlanta                                GA       30346          Goods and Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number       r     e   c   t               Yes


  3.35     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $27,496.00
                                                               Check all that apply.
Intercax, LLC                                                      Contingent
47 Perimeter Center East, Ste 410                                  Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Atlanta                                GA       30346          Goods and Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number       r     e   c   t               Yes


  3.36     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $28,397.00
                                                               Check all that apply.
Interwork Technologies                                             Contingent
2721 Transit Rd, Ste 109                                           Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Elma                                   NY       14059          Goods and Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number       6     6   6   5               Yes




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Debtor       PCPC Direct, Ltd                                                       Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.37     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,084.92
                                                                Check all that apply.
James Bryan Joiner                                                  Contingent
16118 Saint Helier St                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77040           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       I     0    0   1               Yes


  3.38     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:            $500,000.00
                                                                Check all that apply.
Joe & Cornelia Vaught                                               Contingent
3204 Bammel Lane                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77098           Business Loan

Date or dates debt was incurred      7/30/2019                  Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.39     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $18,795.00
                                                                Check all that apply.
JP Donovan Precision Machining, LLC                                 Contingent
201 Paint Street                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Rockledge                              FL       32955           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       r     e    c   t               Yes


  3.40     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $934.67
                                                                Check all that apply.
KNOWBE4, Inc                                                        Contingent
33 N. Garden Ave, Ste 1200                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Clearwater                             FL       33755           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       9     6    7   6               Yes




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Debtor       PCPC Direct, Ltd                                                       Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.41     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $18,600.00
                                                                Check all that apply.
KVM Switches Online, LLC                                            Contingent
2655 Crescent Dr, Ste B                                             Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Lafayette                              CO       80026           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       r     e    c   t               Yes


  3.42     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $272.00
                                                                Check all that apply.
LD Systems                                                          Contingent
407 Garden Oaks Blvd                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77018           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       C     0    0   1               Yes


  3.43     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $26,603.45
                                                                Check all that apply.
LeGrand US                                                          Contingent
60 Woodlawn St                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
West Hartford                          CT       06110           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       9     5    9   5               Yes


  3.44     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,939.00
                                                                Check all that apply.
Marki Microwave                                                     Contingent
215 Vineyard Court                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Morgan Hill                            CA       95037           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       P     1    0   0               Yes




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Debtor       PCPC Direct, Ltd                                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.45     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $10,800.00
                                                               Check all that apply.
Martin Container, Inc                                              Contingent
1402 E. Lomita Blvd                                                Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Wimington                              CA       90744          Goods and Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number       2     2   4   4               Yes


  3.46     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $42,489.00
                                                               Check all that apply.
McGinty Machine                                                    Contingent
222 N. Hydraulic St                                                Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Wichita                                KS       67214          Goods and Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number       5     9   9   1               Yes


  3.47     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $120.00
                                                               Check all that apply.
Minnkota Secured Document Destruction                              Contingent
809 4th Avenue North                                               Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Fargo                                  ND       58102          Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number       3     0   4   2               Yes


  3.48     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $27,600.00
                                                               Check all that apply.
NuWaves Engineering                                                Contingent
132 Edison Drive                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Midddletown                            OH       45044-3269     Goods and Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number       r     e   c   t               Yes




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Debtor       PCPC Direct, Ltd                                                       Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.49     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $17,150.00
                                                                Check all that apply.
NW Medicine Chicago Proton Center                                   Contingent
4455 Weaver Parkway                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Warrenville                            IL       60555           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       0     0    0   3               Yes


  3.50     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,515.00
                                                                Check all that apply.
PAC Machinery                                                       Contingent
25 Tiburon St                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
San Rafael                             CA       94901           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       1     2    0   1               Yes


  3.51     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:            $123,535.70
                                                                Check all that apply.
PB&J Partners, LLC dba PCPC Direct                                  Contingent
8361 E. Gelding Drive                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Scottsdale                             AZ       85260           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       J     0    0   2               Yes


  3.52     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $72.97
                                                                Check all that apply.
Prime Pest Management                                               Contingent
3330 Keller Springs Rd, Ste 230                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Carrollton                             TX       75006           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       7     3    3   5               Yes




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Debtor       PCPC Direct, Ltd                                                       Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.53     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,977.48
                                                                Check all that apply.
PS Lightwave, Inc                                                   Contingent
5959 Corporate Dr, Ste 3300                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77036           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       0     3    5   7               Yes


  3.54     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $337.50
                                                                Check all that apply.
Pure Oasis                                                          Contingent
19425 Soledad Canyon Rd, Ste 205                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Canyon Country                         CA       91351           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       r     e    c   t               Yes


  3.55     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $34,334.64
                                                                Check all that apply.
Quantum Corporation                                                 Contingent
224 Airport Parkway, Ste 550                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
San Jose                               CA       95110           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       2     7    6   7               Yes


  3.56     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $7,844.48
                                                                Check all that apply.
ScanSource                                                          Contingent
6 Logue Court                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Greenville                             SC       29615           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       9     3    8   5               Yes




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Debtor       PCPC Direct, Ltd                                                       Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.57     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $15,914.00
                                                                Check all that apply.
Schneider Electric Limited                                          Contingent
Stafford Park 5                                                     Unliquidated
                                                                    Disputed
Telford, Shropshire
UK TF3 3BL                                                      Basis for the claim:
                                                                Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       1     6    3   1               Yes


  3.58     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $233.34
                                                                Check all that apply.
Server Supply, Inc                                                  Contingent
750 Shames Drive                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Westbury                               NY       11590           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       r     e    c   t               Yes


  3.59     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $11,283.46
                                                                Check all that apply.
ServerLift Corp                                                     Contingent
17453 N. 25th Ave                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Phoenix                                AZ       85023           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       r     e    c   t               Yes


  3.60     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $72,704.03
                                                                Check all that apply.
Service Express                                                     Contingent
3854 Broadmore Ave SE                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Grand Rapids                           MI       49512           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       r     e    c   t               Yes




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Debtor       PCPC Direct, Ltd                                                       Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.61     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,129.93
                                                                Check all that apply.
Sigma Aldrich                                                       Contingent
PO Box 14508                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
St Louis                               MO       68178           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       2     5    7   0               Yes


  3.62     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $499.00
                                                                Check all that apply.
Snap-On Inc.                                                        Contingent
2801 80th Street                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Kenosha                                WI       53143           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       6     8    9   1               Yes


  3.63     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:          $1,313,463.04
                                                                Check all that apply.
Super Micro Computer, Inc                                           Contingent
c/o Thomas A. Burg                                                  Unliquidated
                                                                    Disputed
830 Menlo Avenue, Ste 201
                                                                Basis for the claim:
Menlo Park                             CA       94025           Lawsuit

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       4     8    N   C               Yes


  3.64     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,500.00
                                                                Check all that apply.
Testek Solutions                                                    Contingent
28320 Lakeview Dr                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Wixom                                  MI       48393           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       1     4    0   1               Yes




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Debtor       PCPC Direct, Ltd                                                       Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.65     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:            $194,667.00
                                                                Check all that apply.
Testequity, LLC                                                     Contingent
6100 Condor Drive                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Moorpark                               CA       93021           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       4     6    6   7               Yes


  3.66     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $5,788.97
                                                                Check all that apply.
Traveler's Insurance                                                Contingent
131 Interpark Blvd                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
San Antonio                            TX       78216           Insurance

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       2     1    2   3               Yes


  3.67     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $77,500.00
                                                                Check all that apply.
Tron Air                                                            Contingent
1 Air Cargo Pkwy E                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Swanton                                OH       43558           Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       0     0    2   0               Yes


  3.68     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $504.00
                                                                Check all that apply.
TRS-Rentelco                                                        Contingent
1830 W. Airfield Dr                                                 Unliquidated
                                                                    Disputed
PO Box 619260
                                                                Basis for the claim:
DFW Airport                            TX       75261-9260      Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       3     5    5   7               Yes




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Debtor       PCPC Direct, Ltd                                                       Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.69     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $31,722.00
                                                                Check all that apply.
TX Comptroller of Public Accounts                                   Contingent
PO Box 13528                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78711-3528      Taxes

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       3     2    2   1               Yes


  3.70     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $235.29
                                                                Check all that apply.
TXU Energy                                                          Contingent
6555 Sierra Drive                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Irving                                 TX       75039           Utilities

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       5     3    9   1               Yes


  3.71     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $56.91
                                                                Check all that apply.
United Rentals                                                      Contingent
100 First Stamford Place, Ste 700                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Stamford                               CT       06902           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       1     8    0   4               Yes


  3.72     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $125.29
                                                                Check all that apply.
UPS                                                                 Contingent
55 Glenlake Pkwy                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Atlanta                                GA       30328           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       9     Y    V   0               Yes




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Debtor       PCPC Direct, Ltd                                                       Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.73     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $16,995.00
                                                                Check all that apply.
Vadatech Inc                                                        Contingent
198 N. Gibson Road                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Henderson                              NV        89014          Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       r     e    c   t               Yes


  3.74     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $3,924.76
                                                                Check all that apply.
Vehicle Tracking Solutions                                          Contingent
152 Veterans Memorial Hwy                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Commack                                NY        11725          Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       8     4    7   9               Yes


  3.75     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $4,522.50
                                                                Check all that apply.
X-ISS                                                               Contingent
9800 Northwest Freeway, Ste 205                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX        77092          Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       C     P    C   1               Yes


  3.76     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $3,000.00
                                                                Check all that apply.
Yusen Logistics (Americas), Inc                                     Contingent
300 Lighting Way, 6th FL                                            Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Secaucus                               NJ        07094          Goods and Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       R      I   A   H               Yes




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Debtor      PCPC Direct, Ltd                                                  Case number (if known)

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                       $0.00

5b. Total claims from Part 2                                                              5b.   +          $4,782,898.30


5c. Total of Parts 1 and 2                                                                5c.              $4,782,898.30
    Lines 5a + 5b = 5c.




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                   page 21
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 Fill in this information to identify the case:
 Debtor name         PCPC Direct, Ltd

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number                                                  Chapter       7                                      Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                        parties with whom the debtor has an executory
                                                                                        contract or unexpired lease

2.1       State what the contract       Houston Office:                                 Champion Property Management
          or lease is for and the       10690 Shadow Wood Dr, Suite 132                 9215 Solon Road
          nature of the debtor's        Houston, TX 77043
          interest

          State the term remaining
          List the contract
                                                                                       Houston                             TX            77064
          number of any
          government contract

2.2       State what the contract       DGX Lease--property returned to                 DLL
          or lease is for and the       lessor                                          1212 Corporate Drive, Suite 340
          nature of the debtor's
          interest

          State the term remaining
          List the contract
                                                                                       Irving                              TX            75038
          number of any
          government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify the case:
 Debtor name         PCPC Direct, Ltd

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number                                                                                                        Check if this is an
 (if known)                                                                                                         amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.    Does the debtor have any codebtors?
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
          Yes

2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
      schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
      owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
      separately in Column 2.

         Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                              Check all schedules
       Name                            Mailing address                                        Name                            that apply:

2.1    Cornelia Vaught                 3204 Brammel Lane                                      Chase Card Services                   D
                                       Number      Street                                                                           E/F
                                                                                                                                    G

                                       Houston                        TX      77098
                                       City                           State   ZIP Code




Official Form 206H                                            Schedule H: Codebtors                                                           page 1
                       Case 21-32995 Document 1 Filed in TXSB on 09/07/21 Page 39 of 65


 Fill in this information to identify the case:


 Debtor Name PCPC Direct, Ltd

 United States Bankruptcy Court for the:                   SOUTHERN DISTRICT OF TEXAS


 Case number (if known):                                                                                                                                                            Check if this is an
                                                                                                                                                                                    amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                               12/15



 Part 1:           Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                 $0.00
         Copy line 88 from Schedule A/B........................................................................................................................................................................

     1b. Total personal property:
                                                                                                                                                                                   $874,573.08
         Copy line 91A from Schedule A/B........................................................................................................................................................................

     1c. Total of all property
                                                                                                                                                                                     $874,573.08
         Copy line 92 from Schedule A/B........................................................................................................................................................................


 Part 2:           Summary of Liabilities

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D...................................................... $754,030.65

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                 $0.00
         Copy the total claims from Part 1 from line 5a of Schedule E/F..............................................................................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                              + $4,782,898.30
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F...................................................................................................................


4.   Total liabilities
     Lines 2 + 3a + 3b........................................................................................................................................................................ $5,536,928.95




Official Form 206Sum                                         Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
                    Case 21-32995 Document 1 Filed in TXSB on 09/07/21 Page 40 of 65


 Fill in this information to identify the case and this filing:
 Debtor Name         PCPC Direct, Ltd

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

             I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
             or another individual serving as a representative of the debtor in this case.

             I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
             correct:


                    Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                    Schedule H: Codebtors (Official Form 206H)

                    A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                    Amended Schedule

                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                    (Official Form 204)

                    Other document that requires a declaration


             I declare under penalty of perjury that the foregoing is true and correct.




             Executed on 09/07/2021                       X /s/ Joseph R. Vaught
                         MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                              Joseph R. Vaught
                                                              Printed name
                                                              Executive Vice President/COO
                                                              Position or relationship to debtor




Official Form 202                       Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name         PCPC Direct, Ltd

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                Check if this is an
 (if known)
                                                                                                                amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write the debtor's name and case number (if known).


 Part 1:        Income
1.   Gross revenue from business

         None

Identify the beginning and ending dates of the debtor's fiscal year,           Sources of revenue                             Gross revenue
which may be a calendar year                                                   Check all that apply.                          (before deductions
                                                                                                                              and exclusions


From the beginning of the                                                          Operating a business
                                 From    01/01/2021      to   Filing date
fiscal year to filing date:                                                        Other                                         $4,215,150.00
                                        MM / DD / YYYY

                                                                                   Operating a business
For prior year:                  From    01/01/2020      to    12/31/2020
                                        MM / DD / YYYY        MM / DD / YYYY       Other                                        $40,807,226.00

                                                                                   Operating a business
For the year before that:        From    01/01/2019      to    12/31/2019
                                        MM / DD / YYYY        MM / DD / YYYY       Other                                        $60,081,446.00

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
     lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         None

 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy
3.   Certain payments or transfers to creditors within 90 days before filing this case

     List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
     adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

         None

      Creditor's name and address                             Dates            Total amount or value      Reasons for payment or transfer
                                                                                                          Check all that apply
3.1. See attached
                                                                                                             Secured debt
      Creditor's name
                                                                                                             Unsecured loan repayments
      Street                                                                                                 Suppliers or vendors
                                                                                                             Services
                                                                                                             Other
      City                            State   ZIP Code




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
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Debtor         PCPC Direct, Ltd                                                              Case number (if known)
               Name

4.   Payments or other transfers of property made within 1 year before filing this case that benefited any insider

     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of
     adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
     and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
     any managing agent of the debtor. 11 U.S.C. § 101(31).


         None

      Insider's name and address                                   Dates            Total amount or value        Reasons for payment or transfer
4.1. Joseph R. Vaught                                              10/13/20               $10,000.00             Payment on Loan
      Insider's name
      3204 Brammel Lane
      Street


      Houston                           TX       77098
      City                              State    ZIP Code

      Relationship to debtor
      EVP/COO

      Insider's name and address                                   Dates            Total amount or value        Reasons for payment or transfer
4.2. Joseph R. Vaught                                              1/14/21                $15,000.00             Loan payment
      Insider's name

      Street




      City                              State    ZIP Code

      Relationship to debtor



5.   Repossessions, foreclosures, and returns

     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a
     creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in
     line 6.

         None

6.   Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from
     an account of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because
     the debtor owed a debt.

         None




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
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Debtor       PCPC Direct, Ltd                                                                Case number (if known)
             Name


 Part 3:        Legal Actions or Assignments
7.   Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity--within 1 year before filing this case.

         None

      Case title                            Nature of case                            Court or agency's name and address              Status of case
7.1. Super Micro Computer, Inc.,            Collections                               United States District Court
                                                                                                                                          Pending
      a Delaware coporation v.                                                        Name
      PCPC Direct, Ltd, a Texas                                                       Northern District of California                     On appeal
      Limited Partnership                                                             Street
                                                                                                                                          Concluded
                                                                                      San Jose Division
      Case number
      5:20-cv-6648-NC
                                                                                      City                      State   ZIP Code

      Case title                            Nature of case                            Court or agency's name and address              Status of case
7.2. Fuji America Corporation v.            Collections                               Circuit Court of Cook County, Illinois
                                                                                                                                          Pending
      PCPC Direct, Ltd                                                                Name

                                                                                      50 W Washington St.                                 On appeal
                                                                                      Street
                                                                                                                                          Concluded

      Case number
      2021L007683                                                                     Chicago                   IL      60602
                                                                                      City                      State   ZIP Code

8.   Assignments and receivership

     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

         None

 Part 4:        Certain Gifts and Charitable Contributions
9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
     aggregate value of the gifts to that recipient is less than $1,000

         None

 Part 5:        Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.

         None

Description of the property lost and how           Amount of payments received for the loss                      Date of loss      Value of
the loss occurred                                  If you have received payments to cover the loss, for                            property lost
                                                   example, from insurance, government compensation, or
                                                   tort liability, list the total received.
                                                   List unpaid claims on Official Form 206A/B (Schedule A/B:
                                                   Assets -- Real and Personal Property).
Stolen Checks from Mailbox                         $2,137.76                                                     9/18/2020            $105,987.74




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 3
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Debtor          PCPC Direct, Ltd                                                           Case number (if known)
                Name


 Part 6:          Certain Payments or Transfers
11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year
    before the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or
    restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

          None

         Who was paid or who received the transfer?            If not money, describe the property              Dates                Total amount
                                                               transferred                                                           or value
 11.1. Barron & Newburger, PC                                  Attorney Fees and Filing Fees                    6/10/2021               $8,838.00
                                                                                                                8/31/2021
         Address

         7320 N. Mopac Expy.
         Street
         Ste. 400

         Austin                       TX      78731
         City                         State   ZIP Code

         Email or website address



         Who made the payment, if not debtor?



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing
    of this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None

13. Transfers not already listed on this statement
    List any transfers of money or other property--by sale, trade, or any other means--made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.

          None

 Part 7:          Previous Locations
14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

          Does not apply




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
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Debtor        PCPC Direct, Ltd                                                           Case number (if known)
              Name


 Part 8:        Health Care Bankruptcies
15. Health Care bankruptcies

     Is the debtor primarily engaged in offering services and facilities for:

         diagnosing or treating injury, deformity, or disease, or

         providing any surgical, psychiatric, drug treatment, or obstetric care?

         No. Go to Part 9.
         Yes. Fill in the information below.

 Part 9:        Personally Identifiable Information
16. Does the debtor collect and retain personally identifiable information of customers?

         No.
         Yes. State the nature of the information collected and retained


                Does the debtor have a privacy policy about that information?
                   No.
                   Yes.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or
    other pension or profit-sharing plan made available by the debtor as an employee benefit?

         No. Go to Part 10.
         Yes. Does the debtor serve as plan administrator?
                  No. Go to Part 10.
                  Yes. Fill in below:

 Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts, certificates of deposit, and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.

         None

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

         None




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 5
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Debtor       PCPC Direct, Ltd                                                               Case number (if known)
             Name

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

         None

 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held
    in trust. Do not list leased or rented property.


         None

 Part 12:       Details About Environmental Information
For the purpose of Part 12, the following definitions apply:

   Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless or
   the medium affected (air, land, water, or any other medium).


   Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
   formerly owned, operated, or utilized.

   Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
   similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
    Include settlements and orders.

         No
         Yes. Provide details below.

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?

         No
         Yes. Provide details below.

24. Has the debtor notified any govermental unit of any release of hazardous material?

         No
         Yes. Provide details below.

 Part 13:       Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
    case. Include this information even if already listed in the Schedules.

         None




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 6
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Debtor        PCPC Direct, Ltd                                                             Case number (if known)
              Name

26. Books, records, and financial statements

    26a.     List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

                 None

                Name and address                                                                    Dates of service

      26a.1. Damone A. Jackson                                                                      From        2019          To      2020
                Name
                26723 Brushy Meadow
                Street


                Katy                                          TX          77494
                City                                          State       ZIP Code

                Name and address                                                                    Dates of service

      26a.2. Dennis J. Sklar, Jr.                                                                   From        2020          To    Present
                Name
                8312 Pinecrest Drive #563
                Street


                Spring                                        TX          77389
                City                                          State       ZIP Code

    26b.     List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
             statement within 2 years before filing this case.

                 None

                Name and address                                                                    Dates of service

      26b.1. Bill Pilkington                                                                        From        2019          To    Present
                Name
                Bently & Associates
                Street
                515 W. Greens Road
                Houston                                       TX          77067
                City                                          State       ZIP Code

    26c.     List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

                 None

                Name and address                                                                If any books of account and records are
                                                                                                unavailable, explain why
         26c.1. Bently & Associates
                Name
                515 W. Greens Rd
                Street


                Houston                                       TX          77067
                City                                          State       ZIP Code

                Name and address                                                                If any books of account and records are
                                                                                                unavailable, explain why
         26c.2. Hitachi Capital America Corp
                Name
                300 W. Wilson Bridge Rd, Suite 160
                Street


                Worthington                                   OH          43085
                City                                          State       ZIP Code




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 7
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Debtor           PCPC Direct, Ltd                                                               Case number (if known)
                 Name

     26d.       List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
                financial statement within 2 years before filing this case.

                    None

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

          No.
          Yes. Give the details about the two most recent inventories.

         Name of the person who supervised the taking of the inventory                                  Date of           The dollar amount and basis
                                                                                                        inventory         (cost, market, or other basis)
                                                                                                                          of each inventory

         Sam Mouton                                                                                       Unknown

         Name and address of the person who has possession of inventory records

 27.1. Sam Mouton - Deceased
         Name

         Street




         City                                                     State       ZIP Code

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders,
    or other people in control of the debtor at the time of the filing of this case.


Name                                         Address                                      Position and nature of any interest         % of interest, if any

Cornelia Vaught                              3204 Bammel Lane                             CEO                                                  60%
                                             Houston, TX 77098
Joseph R. Vaught                             3204 Bammel Lane                             EVP/COO                                              40%
                                             Houston, TX 77098
29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
    members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

          No
          Yes. Identify below.

Name                                         Address                                      Position and nature of        Period during which position
                                                                                          any interest                  or interest was held




Official Form 207                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 8
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Debtor          PCPC Direct, Ltd                                                          Case number (if known)
                Name

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
    bonuses, loans, credits on loans, stock redemptions, and options exercised?

          No
          Yes. Identify below.

         Name and address of recipient                  Amount of money or description         Dates            Reason for
                                                        and value of property                                   providing the value


 30.1. Joseph R. Vaught                                 Repayment of Loan                      10/13/20         Loan repayment
         Name                                           $25,000.00                             $10,000
         3204 Bammel Lane
         Street
                                                                                               1/14/21
                                                                                               $15,000

         Houston
         City                    State   ZIP Code

         Relationship to debtor
         EVP/COO

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
          Yes. Identify below.

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
          Yes. Identify below.

 Part 14:         Signature and Declaration
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is
true and correct.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 09/07/2021
            MM / DD / YYYY



X /s/ Joseph R. Vaught                                                             Printed name Joseph R. Vaught
   Signature of individual signing on behalf of the debtor

   Position or relationship to debtor Executive Vice President/COO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    No
    Yes




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 9
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9/2/2021 4:50:42 PM               PCPC DIRECT, LTD.                                                                                                                                                                                                                                         Page 1
A/P Payment Inquiry (APPYMINQ)
From Bank Code            [BOADSBPY] To [BOADSBPY]
From Vendor Number        [ ] To [ZZZZZZZZZZZZ]
Status                    [All]
Transaction Type          [All]
Payment Type              [All]
From Payment Date         [6/1/2021] To [9/30/2021]
From Year/Period          [6/1/2021] To [9/30/2021]

Bank                      Check No.                   Status   Type   Payment Date   Posting Date   Year-Pd.   Batch-Entry   Vendor No.   Remit To                                 Address                             City                    State   Zip Code      Payment Amt.        Reason Paid
BOADSBPY                                              CL       PY     6/1/2021       6/1/2021       2021-06    7792-1        MAS007       MASS MUTUAL                              1295 STATE STREET                   SPRINGFIELD, MA 01111   MA      01111             1,011.09       401K PAYMENT
BOADSBPY                                              CL       PY     6/1/2021       6/1/2021       2021-06    7793-1        TEX005       TEXAS CHILD SUPPORT SDU                  P. O. BOX 659791                    SAN ANTONIO             TX      78265-9791          491.54    CS FOR PHUC AND TAI
BOADSBPY                                              CL       PY     6/1/2021       6/1/2021       2021-06    7794-1        UNI004       UHS PREMIUM BILLING                      P.O. BOX 94017                      PALATINE                IL      60094-4017       15,642.53     HEALTH INSURANCE
BOADSBPY                                              CL       PY     6/2/2021       6/2/2021       2021-06    7796-1        AUT009       AUTHORIZE.NET                                                                                                                     30.00         BANK FEE
BOADSBPY                                              CL       PY     6/2/2021       6/2/2021       2021-06    7795-1        FIS009       FISERV MERCHANT                          P.O BOX 2394                        OMAHA                   NE      68103-2394          187.31         BANK FEE
BOADSBPY                                              CL       PY     6/3/2021       6/3/2021       2021-06    7800-1        AME001       AMERICAN EXPRESS                         P.O. BOX 650448                     DALLAS                  TX      75265             4,200.00          VENDOR
BOADSBPY                                              CL       PY     6/4/2021       6/4/2021       2021-06    7797-1        REL001       RELIANT ENERGY                           P.O. BOX 650475                     DALLAS                  TX      75265-0475        1,250.38         UTIILITIES
BOADSBPY                                              CL       PY     6/7/2021       6/7/2021       2021-06    7798-1        AME001       AMERICAN EXPRESS                         P.O. BOX 650448                     DALLAS                  TX      75265             4,072.23          VENDOR
BOADSBPY                                              CL       PY     6/7/2021       6/7/2021       2021-06    7799-1        BAR020       BARRON & NEWBURGER, PC                   7320 N. MOPAC EXPY., SUITE 400      AUSTIN                  TX      78731             3,838.00          LEGAL
BOADSBPY                                              CL       PY     6/10/2021      6/10/2021      2021-06    7805-1        EAT001       EATON CORPORATION                        PO BOX 93531                        CHICAGO                 TX      93531            43,725.70          VENDOR
BOADSBPY                  000000000011703841          CL       PY     6/11/2021      6/11/2021      2021-06    7801-1        INT001       INTERNAL REVENUE SERVICE                 P.O. BOX 1300                       CHARLOTTE               NC      28201-1300        2,532.68          IRS TAX
BOADSBPY                                              CL       PY     6/14/2021      6/14/2021      2021-06    7807-1        COM037       COMCAST - ACCT# 8777 70 317 5468407      PO BOX 660618                       DALLAS                  TX      75266-0618          472.82         UTIILITIES
BOADSBPY                                              CL       PY     6/14/2021      6/14/2021      2021-06    7806-1        TEX005       TEXAS CHILD SUPPORT SDU                  P. O. BOX 659791                    SAN ANTONIO             TX      78265-9791          138.46         CS FOR TAI
BOADSBPY                  000000000000037652          CL       PY     6/15/2021      6/15/2021      2021-06    7802-5        BW           BRADFORD J. WRIGHT - COMM EXPE (1099)    4810 BLUE CASPIAN CT.               KATY                    TX      77494                27.51        COMMISSION
BOADSBPY                  000000000000037648          CL       PY     6/15/2021      6/15/2021      2021-06    7802-1        CPL          CENTRAL PACIFIC LOGISTICS, LLC - 1099    PO BOX 25007                        HONOLULU                TX      76825-0007        1,116.19        COMMISSION
BOADSBPY                  000000000000037653          CL       PY     6/15/2021      6/15/2021      2021-06    7802-6        HNR          HOLLY ROCKETT - COMM EXPENSES (1099)     2319 STATLER DRIVE                  CARROLLTON              TX      75007               238.10        COMMISSION
BOADSBPY                  000000000000037649          CL       PY     6/15/2021      6/15/2021      2021-06    7802-2        JAC003       EDWARD A. JACOBSEN - 1099                3101 SAGE RD. APT 22                HOUSTON                 TX      77056               228.22        COMMISSION
BOADSBPY                  000000000000037650          CL       PY     6/15/2021      6/15/2021      2021-06    7802-3        PBJ001       PB & J - 1099                            8361 E. GELDING DRIVE               SCOTTSDALE              AZ      85260             5,282.73        COMMISSION
BOADSBPY                  000000000000037654          CL       PY     6/15/2021      6/15/2021      2021-06    7802-7        PP           PHUC VAN PHAM - COMM EXPENSES (1099)     583 TRIANON ST.                     HOUSTON                 TX      77024                12.52        COMMISSION
BOADSBPY                  000000000000037651          CL       PY     6/15/2021      6/15/2021      2021-06    7802-4        ROD002       MDR CONSULTING, INC                      211 SAVANNAH DR                     GETTYSBURG              TX      17325            15,728.56        COMMISSION
BOADSBPY                  000000000000037655          CL       PY     6/15/2021      6/15/2021      2021-06    7802-8        TP           TIEN PHAM - COMM EXPENSES (1099)         10333 CLAY ROAD APT 1023            HOUSTON                 TX      77041               253.49        COMMISSION
BOADSBPY                                              CL       PY     6/17/2021      6/17/2021      2021-06    7834-1        AME006       AMERICAN EXPRESS                         P.O. BOX 650448                     DALLAS                  TX      75265               800.00          VENDOR
BOADSBPY                                              CL       PY     6/17/2021      6/17/2021      2021-06    7815-1        CAP006       CAPITAL ONE                              PO BOX 60599                        CITY OF INDUSTRY        CA      91716-0599        1,000.00          VENDOR
BOADSBPY                  000000000000037661          CL       PY     6/18/2021      6/18/2021      2021-06    7808-1        ADA001       ADAMS SYSTEMS CONSULTANCY                RUBENSSTRAAT 48C                    ROOTEDAM, NETHERLAND            3061ZZ           15,000.00          VENDOR
BOADSBPY                  000000000000037662          CL       PY     6/18/2021      6/18/2021      2021-06    7808-2        AMA001       AMAZON CAPITAL SERVICES                  PO BOX 035184                       SEATTLE                 WA      98124-5184           75.47          VENDOR
BOADSBPY                                              CL       PY     6/18/2021      6/18/2021      2021-06    7820-1        BOA001       BOARD OF EQUAILIZATION                   P.O. BOX 942879                     SACRAMENTO              CA      942079-8015          17.94          CA TAX
BOADSBPY                  000000000000037665          CL       PY     6/18/2021      6/18/2021      2021-06    7808-5        CAN004       CANTER OFFICE EQUIPMENT                  PO BOX 9905                         THE WOODLANDS           TX      77387-6905           86.15      OFFICE SUPPLIES
BOADSBPY                                              CL       PY     6/18/2021      6/18/2021      2021-06    7816-1        CHA006       CHASE CARDMEMBER SERVICE                 PO BOX 94014                        PALATINE                IL      60094-4014        2,033.00          VENDOR
BOADSBPY                  000000000000037666          CL       PY     6/18/2021      6/18/2021      2021-06    7809-1        CPM001       CPM HOLDINGS LLC                         9215 SOLON ROAD SUITE D1            HOUSTON                 TX      77064               262.34           RENT
BOADSBPY                                              CL       PY     6/18/2021      6/18/2021      2021-06    7818-1        HAW004       HAWAII STATE TAX COLLECTOR               P.O. BOX 1425                       HONOLULU                HI      96806-1425          340.31          HI TAX
BOADSBPY                  000000000000037663          CL       PY     6/18/2021      6/18/2021      2021-06    7808-3        NGU010       TAI VAN NGUYEN                           21550 PROVINCIAL BLVD # 1607        KATY                    TX      77450                40.60          MILEAGE
BOADSBPY                                              CL       PY     6/18/2021      6/18/2021      2021-06    7819-1        NOR021       NORTH CAROLINA DEPARTMENT OF REVENUE     PO BOX 25000                        RALEIGH                 NC      27640-0700          101.14          NC TAX
BOADSBPY                  000000000000037664          CL       PY     6/18/2021      6/18/2021      2021-06    7808-4        SKA002       DENNIS J. SKLAR JR.                      8312 PINECREST DRIVE #563           SPRING                  TX      77389             1,637.50       ACCOUNTANT
BOADSBPY                                              CL       PY     6/18/2021      6/18/2021      2021-06    7817-1        TMO001       T-MOBILE                                 PO BOX 660252                       DALLAS                  TX      75266-0252          156.57         UTIILITIES
BOADSBPY                                              CL       PY     6/18/2021      6/18/2021      2021-06    7821-1        VIR006       VIRGINIA DEPARTMENT OF TAXATION          PO BOX 1115                         RICHMOND                TX      23218-1115           10.00          VA TAX
BOADSBPY                                              CL       PY     6/21/2021      6/21/2021      2021-06    7822-1        DEL015       DE LAGE LANDEN FINANCIAL SERVICES INC.   P O BOX 41602                       PHILADELPHIA            PA      19101-1602          267.11    LEASE FOR PRINTERS
BOADSBPY                                              CL       PY     6/21/2021      6/21/2021      2021-06    7823-1        REL001       RELIANT ENERGY                           P.O. BOX 650475                     DALLAS                  TX      75265-0475            3.19         UTIILITIES
BOADSBPY                                              CL       PY     6/22/2021      6/22/2021      2021-06    7827-1        GOV003       GOVERNMENT OF THE DISTRICT OF COLUMBIA   1104 4TH STREET SW SUITE W270       WASHINGTON              DC      20024               250.80          DC TAX
BOADSBPY                                              CL       PY     6/23/2021      6/23/2021      2021-06    7829-1        ATT001       AT&T                                     PO BOX 105414                       ATLANTA                 GA      30348-5414          428.86         UTIILITIES
BOADSBPY                                              CL       PY     6/23/2021      6/23/2021      2021-06    7828-1        SMA013       SMALL BUSINESS ADMINISTRATION            PO BOX 3918                         PORTLAND                OR      97208-3918          731.00         SBA LOAN
BOADSBPY                                              CL       PY     6/23/2021      6/23/2021      2021-06    7830-1        UNI004       UHS PREMIUM BILLING                      P.O. BOX 94017                      PALATINE                IL      60094-4017        5,796.65     HEALTH INSURANCE
BOADSBPY                                              CL       PY     6/24/2021      6/24/2021      2021-06    7831-1        AFL001       AFLAC                                    1932 WYNNTON ROAD                   COLUMBUS                GA      31999               167.57   SUPLIMENTAL INSURANCE
BOADSBPY                                              CL       PY     6/24/2021      6/24/2021      2021-06    7832-1        TEX005       TEXAS CHILD SUPPORT SDU                  P. O. BOX 659791                    SAN ANTONIO             TX      78265-9791          138.46         CS FOR TAI
BOADSBPY                  000000000000037667          RV       PY     6/25/2021      6/25/2021      2021-06    7824-1        DAV010       DWYANE J. DAVIS - 1099                   20703 TRANQUIL SHORES DR.           RICHMOND                TX      77407             2,615.45      CONTRACT LABOR
BOADSBPY                  000000000000037667          CL       PY     6/25/2021      6/25/2021      2021-06    7825-1        DAV010       DWYANE J. DAVIS - 1099                   20703 TRANQUIL SHORES DR.           RICHMOND                TX      77407                82.45      CONTRACT LABOR
BOADSBPY                  000000000000037673          CL       PY     6/25/2021      6/25/2021      2021-06    7833-1        DAV010       DWYANE J. DAVIS - 1099                   20703 TRANQUIL SHORES DR.           RICHMOND                TX      77407               493.00      CONTRACT LABOR
BOADSBPY                  000000000095606559          CL       PY     6/25/2021      6/25/2021      2021-06    7826-1        INT001       INTERNAL REVENUE SERVICE                 P.O. BOX 1300                       CHARLOTTE               NC      28201-1300        2,493.38          IRS TAX
BOADSBPY                                              CL       PY     7/1/2021       7/1/2021       2021-07    7840-1        CAP006       CAPITAL ONE                              PO BOX 60599                        CITY OF INDUSTRY        CA      91716-0599        1,000.00          VENDOR
BOADSBPY                                              CL       PY     7/2/2021       7/2/2021       2021-07    7855-1        AUT009       AUTHORIZE.NET                                                                                                                     30.00         BANK FEE
BOADSBPY                  000000000000037679          CL       PY     7/2/2021       7/2/2021       2021-07    7839-1        BEN001       BENTLEY, BRATCHER & ASSOCIATES, PC       515 WEST GREENS RD SUITE 710        HOUSTON                 TX      77067               275.00            CPA
BOADSBPY                                              CL       PY     7/2/2021       7/2/2021       2021-07    7841-1        CHA006       CHASE CARDMEMBER SERVICE                 PO BOX 94014                        PALATINE                IL      60094-4014        1,000.00          VENDOR
BOADSBPY                  000000000000037677          CL       PY     7/2/2021       7/2/2021       2021-07    7836-1        CPM001       CPM HOLDINGS LLC                         9215 SOLON ROAD SUITE D1            HOUSTON                 TX      77064             2,699.57           RENT
BOADSBPY                                              CL       PY     7/2/2021       7/2/2021       2021-07    7856-1        FIS009       FISERV MERCHANT                          P.O BOX 2394                        OMAHA                   NE      68103-2394           57.50         BANK FEE
BOADSBPY                                              CL       PY     7/2/2021       7/2/2021       2021-07    7850-1        INT001       INTERNAL REVENUE SERVICE                 P.O. BOX 1300                       CHARLOTTE               NC      28201-1300           69.05          FED TAX
BOADSBPY                  000000000000037674          CL       PY     7/2/2021       7/2/2021       2021-07    7835-1        MAL001       MALCOLM THOMPSON AND ASSOCIATES, INC.    20445 STATE HIGHWAY 249 SUITE 400   HOUSTON                 TX      77077             2,160.00       TPA FOR 401K
BOADSBPY                  000000000000037676          CL       PY     7/2/2021       7/2/2021       2021-07    7835-3        QUE003       QUENCH USA, INC                          PO BOX 781393                       PHILADELPHIA            PA      19178-1393          270.63         UTIILITIES
BOADSBPY                  000000000000037675          CL       PY     7/2/2021       7/2/2021       2021-07    7835-2        SKA002       DENNIS J. SKLAR JR.                      8312 PINECREST DRIVE #563           SPRING                  TX      77389               500.00       ACCOUNTANT
BOADSBPY                  000000000000037678          CL       PY     7/2/2021       7/2/2021       2021-07    7836-2        TEX011       TEXAS SECURITY SHREDDING                 5215 1ST STREET                     CROSBY                  TX      77532                90.00        SHREDDING
BOADSBPY                                              CL       PY     7/6/2021       7/6/2021       2021-07    7843-1        COM037       COMCAST - ACCT# 8777 70 317 5468407      PO BOX 660618                       DALLAS                  TX      75266-0618          472.83         UTIILITIES
BOADSBPY                                              CL       PY     7/6/2021       7/6/2021       2021-07    7844-1        DEL015       DE LAGE LANDEN FINANCIAL SERVICES INC.   P O BOX 41602                       PHILADELPHIA            PA      19101-1602          267.11    LEASE FOR PRINTERS
BOADSBPY                                              CL       PY     7/6/2021       7/6/2021       2021-07    7846-1        REL001       RELIANT ENERGY                           P.O. BOX 650475                     DALLAS                  TX      75265-0475        1,445.78         UTIILITIES
BOADSBPY                                              CL       PY     7/6/2021       7/6/2021       2021-07    7847-1        REL001       RELIANT ENERGY                           P.O. BOX 650475                     DALLAS                  TX      75265-0475            9.52         UTIILITIES
BOADSBPY                                              CL       PY     7/6/2021       7/6/2021       2021-07    7848-1        REL001       RELIANT ENERGY                           P.O. BOX 650475                     DALLAS                  TX      75265-0475           50.47         UTIILITIES
BOADSBPY                                              CL       PY     7/6/2021       7/6/2021       2021-07    7842-1        STA003       STATE COMPTROLLER                        111 E. 17TH STREET                  AUSTIN                  TX      78774            17,292.66       TX STATE TAX
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BOADSBPY                        CL   PY   7/6/2021    7/6/2021    2021-07   7845-1   TMO001   T-MOBILE                                 PO BOX 660252                        DALLAS         TX   75266-0252      156.57          UTIILITIES
BOADSBPY                        CL   PY   7/6/2021    7/6/2021    2021-07   7849-1   TXU001   TXU ENERGY                               P.O. BOX 650638                      DALLAS         TX   75265-0638      888.32          UTIILITIES
BOADSBPY   000000000000037685   CL   PY   7/9/2021    7/9/2021    2021-07   7851-1   BHC001   BHC OFFICE SOLUTIONS, INC                4200 LINDBERGH DRIVE                 ADDISON        TX   75001          1,399.67   DALLAS OFFICE CLEANING
BOADSBPY   000000000022100229   CL   PY   7/9/2021    7/9/2021    2021-07   7854-1   INT001   INTERNAL REVENUE SERVICE                 P.O. BOX 1300                        CHARLOTTE      NC   28201-1300     2,506.88          IRS TAX
BOADSBPY                        CL   PY   7/9/2021    7/9/2021    2021-07   7853-1   TEX005   TEXAS CHILD SUPPORT SDU                  P. O. BOX 659791                     SAN ANTONIO    TX   78265-9791      138.46          CS FOR TAI
BOADSBPY                        CL   PY   7/12/2021   7/12/2021   2021-07   7861-1   ITF001   IT FITS SERVICES                         PO BOX 343                           ROWLETT        TX   75030           135.31      CLEANING SERVICE
BOADSBPY                        CL   PY   7/14/2021   7/14/2021   2021-07   7862-1   STA003   STATE COMPTROLLER                        111 E. 17TH STREET                   AUSTIN         TX   78774         39,468.36        TX STATE TAX
BOADSBPY                        CL   PY   7/14/2021   7/14/2021   2021-07   7863-1   STA003   STATE COMPTROLLER                        111 E. 17TH STREET                   AUSTIN         TX   78774         20,515.65        TX STATE TAX
BOADSBPY                        CL   PY   7/14/2021   7/14/2021   2021-07   7864-1   STA003   STATE COMPTROLLER                        111 E. 17TH STREET                   AUSTIN         TX   78774         24,663.27        TX STATE TAX
BOADSBPY                        CL   PY   7/15/2021   7/15/2021   2021-07   7865-1   BOA001   BOARD OF EQUAILIZATION                   P.O. BOX 942879                      SACRAMENTO     CA   942079-8015   41,055.06           CA TAX
BOADSBPY   000000000003483329   CL   PY   7/15/2021   7/15/2021   2021-07   7859-1   INT001   INTERNAL REVENUE SERVICE                 P.O. BOX 1300                        CHARLOTTE      NC   28201-1300     4,124.41          IRS TAX
BOADSBPY   000000000000037691   CL   PY   7/16/2021   7/16/2021   2021-07   7858-2   BEN001   BENTLEY, BRATCHER & ASSOCIATES, PC       515 WEST GREENS RD SUITE 710         HOUSTON        TX   77067         10,315.00            CPA
BOADSBPY                        CL   PY   7/16/2021   7/16/2021   2021-07   7867-1   HAW004   HAWAII STATE TAX COLLECTOR               P.O. BOX 1425                        HONOLULU       HI   96806-1425      444.38            HI TAX
BOADSBPY   000000000000037692   CL   PY   7/16/2021   7/16/2021   2021-07   7858-3   JOH001   J.W. (DON) JOHNSON, P.C. LAWYERS         9225 KATY FRY, SUITE 250             HOUSTON        TX   77024-1564     5,775.00           LEGAL
BOADSBPY                        CL   PY   7/16/2021   7/16/2021   2021-07   7866-1   NOR021   NORTH CAROLINA DEPARTMENT OF REVENUE     PO BOX 25000                         RALEIGH        NC   27640-0700      278.13            NC TAX
BOADSBPY   000000000000037690   CL   PY   7/16/2021   7/16/2021   2021-07   7858-1   SKA002   DENNIS J. SKLAR JR.                      8312 PINECREST DRIVE #563            SPRING         TX   77389          1,425.00        ACCOUNTANT
BOADSBPY   000000000000037693   CL   PY   7/16/2021   7/16/2021   2021-07   7858-4   TUR008   TURNING POINT LAW, INC.                  911 LAKEVILLE STREET #321            PETALUMA       CA   94952          8,150.00           LEGAL
BOADSBPY                        CL   PY   7/19/2021   7/19/2021   2021-07   7870-1   COM037   COMCAST - ACCT# 8777 70 317 5468407      PO BOX 660618                        DALLAS         TX   75266-0618      472.83          UTIILITIES
BOADSBPY                        CL   PY   7/21/2021   7/21/2021   2021-07   7871-1   NIH002   NIH NITAAC                               6011 EXECUTIVE BOULEVARD SUITE 501   ROCKVILLE      MD   20852            50.11           CIO FEES
BOADSBPY                        CL   PY   7/21/2021   7/21/2021   2021-07   7872-1   TEX003   TEXAS WORKFORCE COMMISSION               12455 BEECHNUT                       HOUSTON        TX   77072           414.29      TWC EMPLOYER TAX
BOADSBPY   000000000000037702   CL   PY   7/23/2021   7/23/2021   2021-07   7874-1   EMP007   EMPOWER RETIREMENT                       100 BRIGHT MEADOW BLVD               ENFIELD        CT   6082            620.22     401K RETIRMEENT FEE
BOADSBPY   000000000000037701   CL   PY   7/23/2021   7/23/2021   2021-07   7873-3   ING002   INGRAM MICRO                             P. O. BOX 90341                      CHICAGO        IL   60696          2,364.53          VENDOR
BOADSBPY   000000000020902134   CL   PY   7/23/2021   7/23/2021   2021-07   7875-1   INT001   INTERNAL REVENUE SERVICE                 P.O. BOX 1300                        CHARLOTTE      NC   28201-1300     2,490.90          IRS TAX
BOADSBPY   000000000000037699   CL   PY   7/23/2021   7/23/2021   2021-07   7873-1   LAF002   PETER LAFEMINA - 1099                    4255 FIELD MEADOW                    KATY           TX   77449           255.00       CONTRACT LABOR
BOADSBPY   000000000000037700   CL   PY   7/23/2021   7/23/2021   2021-07   7873-2   SKA002   DENNIS J. SKLAR JR.                      8312 PINECREST DRIVE #563            SPRING         TX   77389           950.00         ACCOUNTANT
BOADSBPY                        CL   PY   7/26/2021   7/26/2021   2021-07   7877-1   TEX005   TEXAS CHILD SUPPORT SDU                  P. O. BOX 659791                     SAN ANTONIO    TX   78265-9791      138.46          CS FOR TAI
BOADSBPY                        CL   PY   7/26/2021   7/26/2021   2021-07   7876-1   WRI005   JULIE M. WRIGHT                          4810 BLUE CASPIAN CT.                KATY           TX   77494            62.75          POSTAGE
BOADSBPY                        CL   PY   7/27/2021   7/27/2021   2021-07   7878-1   REL001   RELIANT ENERGY                           P.O. BOX 650475                      DALLAS         TX   75265-0475       42.60          UTIILITIES
BOADSBPY                        CL   PY   7/27/2021   7/27/2021   2021-07   7879-1   REL001   RELIANT ENERGY                           P.O. BOX 650475                      DALLAS         TX   75265-0475     1,737.66         UTIILITIES
BOADSBPY                        CL   PY   7/27/2021   7/27/2021   2021-07   7880-1   REL001   RELIANT ENERGY                           P.O. BOX 650475                      DALLAS         TX   75265-0475         8.96          UTIILITIES
BOADSBPY                        CL   PY   7/28/2021   7/28/2021   2021-07   7881-1   COM037   COMCAST - ACCT# 8777 70 317 5468407      PO BOX 660618                        DALLAS         TX   75266-0618      462.78          UTIILITIES
BOADSBPY                        CL   PY   7/30/2021   7/30/2021   2021-07   7882-1   UNI004   UHS PREMIUM BILLING                      P.O. BOX 94017                       PALATINE       IL   60094-4017     6,790.02     HEALTH INSURANCE
BOADSBPY                        OS   PY   8/2/2021    8/2/2021    2021-08   7890-1   FIS009   FISERV MERCHANT                          P.O BOX 2394                         OMAHA          NE   68103-2394       56.25          BANK FEE
BOADSBPY                        OS   PY   8/3/2021    8/3/2021    2021-08   7914-1   AUT009   AUTHORIZE.NET                                                                                                       30.00         BANK FEE
BOADSBPY                        OS   PY   8/4/2021    8/4/2021    2021-08   7885-1   AME001   AMERICAN EXPRESS                         P.O. BOX 650448                      DALLAS         TX   75265           134.19           VENDOR
BOADSBPY                        OS   PY   8/5/2021    8/5/2021    2021-08   7886-1   SMA013   SMALL BUSINESS ADMINISTRATION            PO BOX 3918                          PORTLAND       OR   97208-3918      731.00          SBA LOAN
BOADSBPY   000000000000037711   OS   PY   8/6/2021    8/6/2021    2021-08   7884-1   DAV010   DWYANE J. DAVIS - 1099                   20703 TRANQUIL SHORES DR.            RICHMOND       TX   77407           892.50       CONTRACT LABOR
BOADSBPY   000000000004421627   OS   PY   8/6/2021    8/6/2021    2021-08   7887-1   INT001   INTERNAL REVENUE SERVICE                 P.O. BOX 1300                        CHARLOTTE      NC   28201-1300     6,734.25          IRS TAX
BOADSBPY   000000000000037703   OS   PY   8/6/2021    8/6/2021    2021-08   7883-1   SKA002   DENNIS J. SKLAR JR.                      8312 PINECREST DRIVE #563            SPRING         TX   77389          1,450.00        ACCOUNTANT
BOADSBPY                        OS   PY   8/6/2021    8/6/2021    2021-08   7891-1   TEX005   TEXAS CHILD SUPPORT SDU                  P. O. BOX 659791                     SAN ANTONIO    TX   78265-9791      138.46          CS FOR TAI
BOADSBPY                        OS   PY   8/12/2021   8/12/2021   2021-08   7893-1   AME006   AMERICAN EXPRESS                         P.O. BOX 650448                      DALLAS         TX   75265          2,295.57          VENDOR
BOADSBPY                        OS   PY   8/12/2021   8/12/2021   2021-08   7892-1   REL001   RELIANT ENERGY                           P.O. BOX 650475                      DALLAS         TX   75265-0475       48.31          UTIILITIES
BOADSBPY   000000000000037712   OS   PY   8/12/2021   8/12/2021   2021-08   7888-1   SKA002   DENNIS J. SKLAR JR.                      8312 PINECREST DRIVE #563            SPRING         TX   77389           800.00         ACCOUNTANT
BOADSBPY   000000000000037721   OS   PY   8/17/2021   8/17/2021   2021-08   7894-1   BAR020   BARRON & NEWBURGER, PC                   7320 N. MOPAC EXPY., SUITE 400       AUSTIN         TX   78731          5,000.00           LEGAL
BOADSBPY   000000000000037722   OS   PY   8/17/2021   8/17/2021   2021-08   7895-1   VAU001   JOE VAUGHT                               3204 BAMMEL LANE                     HOUSTON        TX   77098         23,404.05        AUGUST RENT
BOADSBPY   000000000000037723   OS   PY   8/18/2021   8/18/2021   2021-08   7900-1   SKA002   DENNIS J. SKLAR JR.                      8312 PINECREST DRIVE #563            SPRING         TX   77389          1,000.00        ACCOUNTANT
BOADSBPY   000000000000646601   OS   PY   8/20/2021   8/20/2021   2021-08   7907-1   INT001   INTERNAL REVENUE SERVICE                 P.O. BOX 1300                        CHARLOTTE      NC   28201-1300     6,466.01          IRS TAX
BOADSBPY   000000000000037720   OS   PY   8/23/2021   8/23/2021   2021-08   7896-1   STA003   TEXAS COMPTROLLER                        111 E. 17TH STREET                   AUSTIN         TX   78774           105.00          TEXAS TAX
BOADSBPY                        OS   PY   8/24/2021   8/24/2021   2021-08   7903-1   HAW004   HAWAII STATE TAX COLLECTOR               P.O. BOX 1425                        HONOLULU       HI   96806-1425      425.71            HI TAX
BOADSBPY                        OS   PY   8/24/2021   8/24/2021   2021-08   7901-1   REL001   RELIANT ENERGY                           P.O. BOX 650475                      DALLAS         TX   75265-0475       10.05          UTIILITIES
BOADSBPY                        OS   PY   8/24/2021   8/24/2021   2021-08   7902-1   REL001   RELIANT ENERGY                           P.O. BOX 650475                      DALLAS         TX   75265-0475     1,543.79         UTIILITIES
BOADSBPY                        OS   PY   8/25/2021   8/25/2021   2021-08   7904-1   GOV003   GOVERNMENT OF THE DISTRICT OF COLUMBIA   1104 4TH STREET SW SUITE W270        WASHINGTON     DC   20024           432.90            DC TAX
BOADSBPY                        OS   PY   8/25/2021   8/25/2021   2021-08   7905-1   SMA013   SMALL BUSINESS ADMINISTRATION            PO BOX 3918                          PORTLAND       OR   97208-3918      731.00          SBA LOAN
BOADSBPY   000000000000037724   OS   PY   8/26/2021   8/26/2021   2021-08   7906-1   ADV003   ADVANCE APPLICATIONS, INC                4615 SOUTHWEST FREEWAY SUITE 600     HOUSTON        TX   77027          1,338.24     SAGE CONSULTING
BOADSBPY   000000000000037725   OS   PY   8/26/2021   8/26/2021   2021-08   7906-2   GON001   AURORA GONZALEZ                          12415 GROSSMOUNT DR                  HOUSTON        TX   77066           180.00        MAINTENANCE
BOADSBPY   000000000000037726   OS   PY   8/26/2021   8/26/2021   2021-08   7906-3   SKA002   DENNIS J. SKLAR JR.                      8312 PINECREST DRIVE #563            SPRING         TX   77389           350.00         ACCOUNTANT
BOADSBPY                        OS   PY   8/27/2021   8/27/2021   2021-08   7908-1   BOA001   BOARD OF EQUAILIZATION                   P.O. BOX 942879                      SACRAMENTO     CA   942079-8015    1,477.91           CA TAX
BOADSBPY                        OS   PY   8/27/2021   8/27/2021   2021-08   7913-1   UNI002   UNITED PARCEL SERVICE                    P. O. BOX 7247-0244                  PHILADELPHIA   PA   19170-0001      144.78          POSTAGE
BOADSBPY                        OS   PY   8/30/2021   8/30/2021   2021-08   7911-1   HAW004   HAWAII STATE TAX COLLECTOR               P.O. BOX 1425                        HONOLULU       HI   96806-1425     1,327.88           HI TAX
BOADSBPY                        OS   PY   8/30/2021   8/30/2021   2021-08   7912-1   COM037   COMCAST - ACCT# 8777 70 317 5468407      PO BOX 660618                        DALLAS         TX   75266-0618       462.78         UTIILITIES
BOADSBPY                        OS   PY   9/2/2021    9/2/2021    2021-09   7915-1   AUT009   AUTHORIZE.NET                                                                                                       30.00         BANK FEE
BOADSBPY                        OS   PY   9/2/2021    9/2/2021    2021-09   7916-1   FIS009   FISERV MERCHANT                          P.O BOX 2394                         OMAHA          NE   68103-2394       56.25          BANK FEE
BOADSBPY   000000000000037738   OS   PY   9/3/2021    9/3/2021    2021-09   7910-1   CPL      CENTRAL PACIFIC LOGISTICS, LLC - 1099    PO BOX 25007                         HONOLULU       TX   76825-0007     5,742.09        COMMISSION
BOADSBPY   000000000000037739   OS   PY   9/3/2021    9/3/2021    2021-09   7910-2   PBJ001   PB & J - 1099                            8361 E. GELDING DRIVE                SCOTTSDALE     AZ   85260         17,539.67        COMMISSION
BOADSBPY   000000000000037740   OS   PY   9/3/2021    9/3/2021    2021-09   7910-3   JAC003   EDWARD A. JACOBSEN - 1099                3101 SAGE RD. APT 22                 HOUSTON        TX   77056            885.14        COMMISSION
BOADSBPY   000000000000037741   OS   PY   9/3/2021    9/3/2021    2021-09   7910-4   ROD002   MDR CONSULTING, INC                      211 SAVANNAH DR                      GETTYSBURG     TX   17325          3,709.29        COMMISSION
BOADSBPY   000000000000037742   OS   PY   9/3/2021    9/3/2021    2021-09   7910-5   HNR      HOLLY ROCKETT - COMM EXPENSES            2319 STATLER DRIVE                   CARROLLTON     TX   75007           186.41         COMMISSION
BOADSBPY   000000000000037743   OS   PY   9/3/2021    9/3/2021    2021-09   7910-6   PP       PHUC VAN PHAM - COMM EXPENSES            583 TRIANON ST.                      HOUSTON        TX   77024           103.12         COMMISSION
BOADSBPY   000000000000037744   OS   PY   9/3/2021    9/3/2021    2021-09   7910-7   TP       TIEN PHAM - COMM EXPENSES                10333 CLAY ROAD APT 1023             HOUSTON        TX   77041           132.28         COMMISSION
BOADSBPY   000000000000037745   OS   PY   9/3/2021    9/3/2021    2021-09   7917-1   BEN001   BENTLEY, BRATCHER & ASSOCIATES, PC       515 WEST GREENS RD SUITE 710         HOUSTON        TX   77067          9,650.00            CPA
BOADSBPY   000000000000037746   OS   PY   9/3/2021    9/3/2021    2021-09   7917-2   LAF002   PETER LAFEMINA - 1099                    4255 FIELD MEADOW                    KATY           TX   77449          2,990.00      CONTRACT LABOR
BOADSBPY   000000000000037747   OS   PY   9/3/2021    9/3/2021    2021-09   7917-3   SKA002   DENNIS J. SKLAR JR.                      8312 PINECREST DRIVE #563            SPRING         TX   77389         17,395.00        ACCOUNTANT
BOADSBPY   000000000000037748   OS   PY   9/3/2021    9/3/2021    2021-09   7917-4   TEX011   TEXAS SECURITY SHREDDING                 5215 1ST STREET                      CROSBY         TX   77532           495.00          SHREDDING
BOADSBPY   000000000000037749   OS   PY   9/3/2021    9/3/2021    2021-09   7917-5   WRI005   JULIE M. WRIGHT                          4810 BLUE CASPIAN CT.                KATY           TX   77494           149.33          POSTAGE
BOADSBPY   000000000023892039   OS   PY   9/3/2021    9/3/2021    2021-09   7909-1   INT001   INTERNAL REVENUE SERVICE                 P.O. BOX 1300                        CHARLOTTE      NC   28201-1300     6,466.01          IRS TAX
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BOADSBPY                        000000000001130564   OS   PY   9/3/2021   9/3/2021   2021-09   7918-1   INT001   INTERNAL REVENUE SERVICE   P.O. BOX 1300   CHARLOTTE   NC   28201-1300   3,382.75   IRS TAX




PY: Payment       PI: Prepayment


OS: Outstanding   CL: Cleared      RV: Reversed


140 payments printed
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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                             SOUTHERN DISTRICT OF TEXAS
                                                                  HOUSTON DIVISION
In re PCPC Direct, Ltd                                                                                                              Case No.

                                                                                                                                    Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                Fixed Fee:                       $8,500.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $8,500.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                   09/07/2021                         /s/ Stephen W. Sather
                      Date                            Stephen W. Sather                          Bar No. 17657520
                                                      Barron & Newburger, P.C.
                                                      7320 N. MoPac Expwy., Suite 400
                                                      Austin, TX 78731
                                                      Phone: (512) 476-9103 / Fax: (512) 279-0310




   /s/ Joseph R. Vaught
   Joseph R. Vaught
   Executive Vice President/COO
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                                      UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF TEXAS
                                              HOUSTON DIVISION
  IN RE:   PCPC Direct, Ltd                                                       CASE NO

                                                                                 CHAPTER       7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 9/7/2021                                           Signature   /s/ Joseph R. Vaught
                                                                    Joseph R. Vaught
                                                                    Executive Vice President/COO




Date                                                    Signature
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                  A Rifkin Co
                  1400 Sans Souci Parkway
                  Wilkes-Barre PA 18703



                  A&A Fabrication & Polishing
                  12031 Philadelphia Street
                  Whittier CA 90601



                  Ace It, Inc
                  1880 W. Oak Parkway, Suite 108
                  Marietta GA 30062



                  Acucal Incorporated
                  11090 Industrial Rd
                  Manassas VA 20109



                  Advanced Power & Controls, LLC
                  898 N. 2225 West Circle
                  Cedar City UT 84721



                  Algosec
                  65 Challenger Rd, Ste 310
                  Ridgefield Park NJ 07660



                  Aligned Vision
                  27 Industrial Ave
                  Chelmsford MA 01824



                  Ariba, Inc.
                  807 11th Avenue
                  Sunnyvale, CA 94089



                  Arrow Enterprise Computing Solutions, In
                  9201 E. Dry Creek Road
                  Centennial, CO 80112
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                  AT&T
                  PO Box 5001
                  Carol Stream IL 60197-5001



                  AT&T
                  PO Box 105414
                  Atlanta GA 30348-5414



                  AT&T
                  PO Box 5019
                  Carol Stream IL 60197-5019



                  AT&T
                  PO Box 5017
                  Carol Stream IL 60197-5017



                  AVT Technology Solutions
                  8700 S. Price Road
                  Tempe AZ 85284



                  Boeing Distribution
                  3760 W. 108th Street
                  Miami FL 33018



                  Budget Truck Rental
                  4500 S. 129th East Ave
                  Tulsa OK 74169-0360



                  Capital One
                  1680 Capital One Drive
                  McLean VA 22102-3491



                  Champion Property Management
                  9215 Solon Road
                  Houston, TX 77064
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                  Chase Card Services
                  PO Box 15298
                  Wilmington DE 19850-5298



                  Cogent Communications Inc
                  2450 N. Street, NW
                  Washington, DC 20037



                  Connectwise, Inc.
                  4110 George Road, Ste 200
                  Tampa FL 33634



                  Cornelia Vaught
                  3204 Brammel Lane
                  Houston, TX 77098



                  Cray, Inc.
                  901 5th Ave, Ste 1000
                  Seattle WA 98164



                  Cyrusone
                  2850 N. Harwood St, Ste 2200
                  Dallas TX 75201



                  De Lage Landen Financial Services, Inc
                  1111 Old Eagle School Rd
                  Wayne PA 19087-1453



                  Diamond USA, Inc
                  85 Rangeway Rd, Bldg #3
                  North Billerica MA 01862



                  DLL
                  1212 Corporate Drive, Suite 340
                  Irving, Texas 75038
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                  DLT Solutions, LLC
                  2411 Dulles Corner Park, Ste 800
                  Herndon VA 20171



                  Electro Enterprises
                  3601 N. I-35 Service Rd
                  Oklahoma City OK 73111



                  Essex, Ind
                  7700 Gravios Road
                  St. Louis MO 63123-4728



                  Fairbanks Scales, Inc
                  6800 W. 64th Street
                  Overland Park KS 64106



                  Fuji America Corporation
                  171 Corporate Woods Pkwy
                  Vernon Hills IL 60061



                  General Dynamics Mission Systems
                  12450 Fair Lakes Circle
                  Fairfax VA 22033



                  GNB Industrial Power
                  3700 Mansell Rd, Ste 400
                  Alpharetta GA 30022



                  Hello Direct, Inc
                  400 Imperial Blvd
                  Cape Canaveral FL 32920



                  High-Tech Conversions, Inc
                  1699 King Street
                  Enfield CT 06082
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                  Holzworth Instrumentation, Inc
                  2540 Frontier Ave, Ste 200
                  Boulder CO 80301



                  Ingram Micro, Inc.
                  1759 Wehrle Drive
                  Williamsville, NY 14221



                  Insight Global
                  1224 Hammond Drive, Ste 1500
                  Atlanta GA 30346



                  Intercax, LLC
                  47 Perimeter Center East, Ste 410
                  Atlanta GA 30346



                  Interwork Technologies
                  2721 Transit Rd, Ste 109
                  Elma NY 14059



                  James Bryan Joiner
                  16118 Saint Helier St
                  Houston TX 77040



                  Joe & Cornelia Vaught
                  3204 Bammel Lane
                  Houston, TX 77098



                  JP Donovan Precision Machining, LLC
                  201 Paint Street
                  Rockledge FL 32955



                  KNOWBE4, Inc
                  33 N. Garden Ave, Ste 1200
                  Clearwater FL 33755
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                  KVM Switches Online, LLC
                  2655 Crescent Dr, Ste B
                  Lafayette CO 80026



                  LD Systems
                  407 Garden Oaks Blvd
                  Houston TX 77018



                  LeGrand US
                  60 Woodlawn St
                  West Hartford CT 06110



                  Marki Microwave
                  215 Vineyard Court
                  Morgan Hill CA 95037



                  Martin Container, Inc
                  1402 E. Lomita Blvd
                  Wimington CA 90744



                  McGinty Machine
                  222 N. Hydraulic St
                  Wichita KS 67214



                  Minnkota Secured Document Destruction
                  809 4th Avenue North
                  Fargo ND 58102



                  NuWaves Engineering
                  132 Edison Drive
                  Midddletown OH 45044-3269



                  NW Medicine Chicago Proton Center
                  4455 Weaver Parkway
                  Warrenville IL 60555
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                  PAC Machinery
                  25 Tiburon St
                  San Rafael CA 94901



                  PB&J Partners, LLC dba PCPC Direct
                  8361 E. Gelding Drive
                  Scottsdale AZ 85260



                  Prime Pest Management
                  3330 Keller Springs Rd, Ste 230
                  Carrollton TX 75006



                  PS Lightwave, Inc
                  5959 Corporate Dr, Ste 3300
                  Houston TX 77036



                  Pure Oasis
                  19425 Soledad Canyon Rd, Ste 205
                  Canyon Country CA 91351



                  Quantum Corporation
                  224 Airport Parkway, Ste 550
                  San Jose CA 95110



                  ScanSource
                  6 Logue Court
                  Greenville SC 29615



                  Schneider Electric Limited
                  Stafford Park 5
                  Telford, Shropshire
                  UK TF3 3BL


                  Server Supply, Inc
                  750 Shames Drive
                  Westbury NY 11590
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                  ServerLift Corp
                  17453 N. 25th Ave
                  Phoenix AZ 85023



                  Service Express
                  3854 Broadmore Ave SE
                  Grand Rapids MI 49512



                  Sigma Aldrich
                  PO Box 14508
                  St Louis MO 68178



                  Snap-On Inc.
                  2801 80th Street
                  Kenosha WI 53143



                  Super Micro Computer, Inc
                  c/o Thomas A. Burg
                  830 Menlo Avenue, Ste 201
                  Menlo Park, CA 94025


                  Synnex Corporation
                  3797 Spinnaker Court
                  Fremont, CA 94538



                  Testek Solutions
                  28320 Lakeview Dr
                  Wixom MI 48393



                  Testequity, LLC
                  6100 Condor Drive
                  Moorpark CA 93021



                  Traveler's Insurance
                  131 Interpark Blvd
                  San Antonio TX 78216
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                  Tron Air
                  1 Air Cargo Pkwy E
                  Swanton OH 43558



                  TRS-Rentelco
                  1830 W. Airfield Dr
                  PO Box 619260
                  DFW Airport TX 75261-9260


                  TX Comptroller of Public Accounts
                  PO Box 13528
                  Austin TX 78711-3528



                  TXU Energy
                  6555 Sierra Drive
                  Irving TX 75039



                  United Rentals
                  100 First Stamford Place, Ste 700
                  Stamford CT 06902



                  UPS
                  55 Glenlake Pkwy
                  Atlanta, GA 30328



                  US Small Business Administration
                  10737 Gateway West, #300
                  El Paso, TX 79935



                  Vadatech Inc
                  198 N. Gibson Road
                  Henderson NV 89014



                  Vehicle Tracking Solutions
                  152 Veterans Memorial Hwy
                  Commack NY 11725
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                  X-ISS
                  9800 Northwest Freeway, Ste 205
                  Houston TX 77092



                  Yusen Logistics (Americas), Inc
                  300 Lighting Way, 6th FL
                  Secaucus NJ 07094
